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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION
                                                                                 UFILED
                                                                             EASTERt 8l~rn:grT ARKANSAS
                                                                                               COURT


UNITED STATES OF AMERICA

v.                              NO. 4:14CR000151-04-JLH

CARL ADERHOLT

                                          ORDER

       Pending before the Court is the Government's Motion for Revocation of Release and for

Summons. (Doc. No. 200.) For good cause shown, the request for issuance of summons is

GRANTED. The Clerk is directed to issue summons to Defendant Carl Aderholt for appearance at

a hearing before United States Magistrate Judge Joe Volpe on December 17, 2015, at 3:30 p.m. to

show cause why his release should not be revoked.

       IT IS SO ORDERED this 15th day of December, 20
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                                                                  AGISTRATE JUDGE
